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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                             EASTERN DISTRICT OF VIRGINIA


                                       Alexandria Division


Mitchell Young,                                  )
       Plaintiff,                                )
                                                 )
V.                                               )           l:18Xcv851(AJT/JFA)
                                                 )
Jeffery Newton,^                                 )
       Defendants.                               )

                                              ORDER


        Mitchell Young,a Virginia inmate proceeding pro se, has filed a civil rights action,

pursuant to 42 U.S.C. § 1983, alleging that his rights under the First Amendment have been

violated by religious practices at the Riverside Regional Jail("RRJ"). Plaintiff has submitted an

application to proceed in forma pauperis in this lawsuit. To determine whether plaintiff qualifies

to proceed in forma pauperis. additional information will be requested from plaintiffs

correctional institution. Additionally, for the reasons stated below, this complaint does not

conform to all requirements for § 1983 civil actions, and plaintiff will be directed to provide

additional information.


       District courts have a duty to construe pleadings by pro se litigants liberally; however, a

pro se plaintiff must nevertheless allege a cause of action. Bracev v. Buchanan. 55 F. Supp. 2d

416,421 (E.D. Va. 1999). To state a cause of action under § 1983,a plaintiff must allege facts

indicating plaintiff was deprived ofrights guaranteed by the Constitution or laws ofthe United

States and that this deprivation resulted from conduct committed by a person acting under color

ofstate law. See West v. Atkins.487 U.S. 42(1988). Thus,each named defendant must have

had personal knowledge of and involvement an the alleged violation of plaintiffs constitutional
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